         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                     Case No. 5D2024-1212
                 LT Case No. 2022-CF-001285-A
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JACQUES DURHAM,

    Appellant,

        v.

STATE OF FLORIDA,

    Appellee.
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3.850 Appeal from the Circuit Court for Seminole County.
Jessica J. Recksiedler, Judge.

Jacques Durham, Sanford, pro se.

No Appearance for Appellee.

                              August 20, 2024


PER CURIAM.

    AFFIRMED.

MAKAR, EISNAUGLE, and KILBANE, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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